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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 HMO LOUISIANA, INC.,

                        Plaintiff,

                        v.                          Case No. 24-cv-2931 (CRC)

 DEPARTMENT OF HEALTH AND
 HUMAN SERVICES,

                        Defendants.

                                               ORDER

        For the reasons stated in the accompanying Memorandum Opinion, it is hereby

        ORDERED that [ECF No. 17] Plaintiff’s Motion for Summary Judgment is DENIED. It

is further

        ORDERED that [ECF No. 20] Defendant’s Cross-Motion for Summary Judgment is

GRANTED. It is further

        ORDERED that the complaint and case are dismissed.

        This is a final appealable Order.

        SO ORDERED.




                                                            CHRISTOPHER R. COOPER
                                                            United States District Judge

Date: July 9, 2025
